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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL
  FOUNDATION,
  611 Pennsylvania Ave SE #231
  Washington, DC 20003

                       Plaintiff,                 Civil Action No.: 22-1903

                v.

  U.S. DEPARTMENT OF THE
  INTERIOR
  1849 C Street, NW
  Washington, DC 20240

                       Defendant.


                                    COMPLAINT

      1.      Plaintiff America First Legal Foundation (“AFL”) brings this action

against Defendant U.S. Department of the Interior (“Interior”) to compel compliance

with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552.

                           JURISDICTION AND VENUE

      2.      This Court has jurisdiction over this action pursuant to 5 U.S.C.

§ 552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201, et seq.

      3.      Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).
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                                      PARTIES

      4.      AFL is a nonprofit organization working to promote the rule of law in

the United States, prevent executive overreach, ensure due process and equal

protection for all Americans, and encourage public knowledge and understanding of

the law and individual rights guaranteed under the United States Constitution and

the laws of the United States. AFL’s mission includes promoting government

transparency and accountability by gathering official information, analyzing it, and

disseminating it through reports, press releases, and/or other media, including social

media platforms, all to educate the public. All of the records AFL receives will be

made publicly available on AFL’s website for citizens, journalists, and scholars to

review and use. AFL’s principal office is located in the District of Columbia.

      5.      Interior is an agency of the federal government within the meaning of 5

U.S.C. § 552(f) and has possession and control of the records AFL seeks.

                                  BACKGROUND

      6.      Transparency is key to a thriving democracy. Without it, it is impossible

for citizens to hold Government accountable.

      7.      Indeed, the Biden Administration routinely states that it is committed

to a transparent, open, and ethical government. 1



1   FACT SHEET: Biden-Harris Administration Prioritizes Effectiveness,
Accountability, and Transparency in Bipartisan Infrastructure Law Implementation,
THE WHITE HOUSE (Apr. 29, 2022), https://tinyurl.com/bdhrccyk; Biden White House
pledges data, transparency, respect for free press, REUTERS (Jan. 20, 2021),
https://tinyurl.com/3fzz25mf; Mark Joyella, Biden’s White House Press Secretary
Promises      ‘Trust    and    Transparency,’    FORBES     (Jan.   20,    2021),
https://tinyurl.com/2p8729wz.


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      8.       “Timely disclosure of records is also essential to the core purpose of

FOIA.” U.S. Dep’t Just., Freedom of Information Act Guidelines (Mar. 15, 2022),

https://tinyurl.com/2yd463dv.

      9.       Yet, questions remain about whether the individuals selected to lead

various agencies have adequate qualifications, and whether they have conflicts of

interest that should preclude them from serving in those positions.

      10.      To ensure transparency, the Government must be open about the

backgrounds and qualifications of individuals selected to lead agencies, including

Interior.

      11.      Importantly, that includes sufficient information to assure citizens that

those selected to lead various agencies are not influenced by conflicts of interest from

previous experiences.

                                 AFL’S FOIA REQUEST

      12.      To better understand the backgrounds of individuals hired at Interior,

AFL submitted a FOIA request to Interior on July 12, 2021. See Ex. A.

      13.      In that request, AFL sought:

            A. Records sufficient to identify all employees who entered into a position
               at the agency as a Political Appointee since January 20, 2021, to the
               date this records request is processed, and the title or position of each
               employee (to the extent that individuals have held multiple positions
               during this time period, identify each title or position and the time
               period it was held).

            B. Records sufficient to identify all career employees who, between
               January 20, 2021, and the date this records request is processed, have
               been detailed to 1) a position eligible to be filled by a Political Appointee,
               or 2) a new position through coordination or consultation with either the
               White House Liaison or Presidential Personnel Office; the title or



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               position of each employee while on detail; and each employee’s
               originating agency or component, and prior title.

            C. For each individual identified in response to Requests 1 and 2 provide:

                  1. The resume provided by the individual to the agency in
                     connection with determining the appropriate salary for the
                     individual, or if that is not available, a recent resume contained
                     within the agency’s records. AFL has no objection to the redaction
                     of employee’s contact information, such as email, address, phone
                     numbers etc.; however, prior employment, education, and
                     descriptions of such experiences are not exempt and should be
                     produced.

                  2. Any waivers issued to the individual pursuant to 18 U.S.C.
                     § 208(b).

                  3. Any authorizations for the individual issued pursuant to 5 C.F.R.
                     § 2635.502.

                  4. Any Ethics Pledge waivers, issued pursuant to Section 3 of
                     Executive Order 13989 and Office of Government Ethics Legal
                     Advisory 21-04, received by the individual.

                  5. Any ethics agreement executed by the individual; any
                     Certification of Ethics Agreement Compliance; and any records
                     relating to any violation by an individual of his or her ethics
                     agreement.

                  6. Records reflecting any recusal determination made or issued for
                     the individual.

                  7. Copies of any SF-50 forms for the individual reflecting any change
                     in position, title, or salary, including when the employee starts or
                     leaves a position.

                  8. Completed Ethics Pledge for each individual.

      14.      AFL submitted its FOIA request to Interior through FOIA Online. See

id.

      15.      This request also sought a fee waiver. See id.




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      16.       On July 14, 2021, Interior sent AFL a letter acknowledging receipt of

the request and assigning it tracking number DOI-OS-2021-005001. See Ex. B.

      17.       In this letter, Interior also stated that AFL’s request “falls into the

Simple processing track,” where requests “generally take one to five workdays to

process.” Id.

      18.       On July 29, 2021, Interior issued an interim response, releasing 85

pages of records with portions withheld pursuant to FOIA Exemption 6. See Ex. C.

That letter stated that Interior was “continuing to process additional responsive

records for your request.” Id. 2

      19.       On February 10, 2022, AFL sent an e-mail to Interior requesting a

status update regarding the processing of its request. See Ex. D.

      20.       On February 16, 2022, Interior responded in an e-mail stating that a

FOIA analyst “will start the review of these records and will provide them to you as

quickly as I can.” Ex. E.

      21.       Since then, AFL has received no further response from Interior about its

FOIA request.

      22.       By failing to respond to AFL’s request, Interior is depriving AFL and the

public of vital information needed to determine whether the individuals selected to

lead Interior have the necessary qualifications and lack conflicts of interest that

would influence their decision making.



2
 In this lawsuit, AFL does not challenge this specific response, or the redactions
Interior applied. Rather, AFL challenges the failure of Interior to comply with FOIA’s
requirement that records be “made promptly available[.]” 5 U.S.C. § 552(a)(6)(C)(i).


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                                     COUNT I
                          Violation of FOIA, 5 U.S.C. § 552

      23.      AFL repeats the foregoing paragraphs as if set forth fully herein.

      24.      Interior is an agency of the federal government within the meaning of 5

U.S.C. § 552(f).

      25.      By letter dated July 12, 2021, AFL submitted a FOIA request to Interior.

      26.      AFL’s FOIA request complied with all applicable statutes and

regulations.

      27.      The requested records are not exempt from FOIA pursuant to 5 U.S.C.

§ 552(b).

      28.      Interior has failed to complete its response to AFL’s request within the

statutory time-period. See 5 U.S.C. § 552(a)(6).

      29.      Interior has failed to “ma[ke] promptly available” the requested records.

5 U.S.C. § 552(a)(6).

      30.      Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(6)(C).

      31.      By failing to release the responsive, non-exempt records, or otherwise

offer a reasonable schedule for production, Interior has violated FOIA. See 5 U.S.C.

§ 552(a)(3)(A).

                               PRAYER FOR RELIEF

      WHEREFORE, AFL respectfully requests that this Court:

      i.       Declare that the records sought by the request, as described in the

foregoing paragraphs, must be disclosed pursuant to 5 U.S.C. § 552.



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      ii.      Order Interior to conduct searches immediately for all records

responsive to AFL’s FOIA request and demonstrate that they employed search

methods reasonably likely to lead to the discovery of responsive records.

      iii.     Order Interior to produce by a date certain all non-exempt records

responsive to AFL’s FOIA request.

      iv.      Award AFL attorneys’ fees and costs incurred in this action pursuant to

5 U.S.C. § 552(a)(4)(E).

      v.       Grant AFL such other and further relief as this Court deems proper.

June 30, 2022                                  Respectfully submitted,

                                               /s/ Brian J. Field
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